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 2
                           UNITED STATES DISTRICT COURT
 3
                        CENTRAL DISTRICT OF CALIFORNIA
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 5
   GABRIELA SOLANO, on behalf of                Case No.: 2:21-cv-01576-AB (KSx)
 6 herself and those similarly situated,
                                                ORDER GRANTING JOINT
 7                                              STIPULATION FOR EXTENSION
                Plaintiff,                      OF TIME TO MOVE TO RE-OPEN
 8                                              ACTION AND TO FILE MOTION
                                                FOR ATTORNEY’S FEES
 9        vs.
10 U.S. IMMIGRATION AND
11 CUSTOMS ENFORCEMENT; TAE D.
   JOHNSON, Acting Director of U.S.
12 Immigration and Customs Enforcement;
13 THOMAS P. GILES, Director of Los
   Angeles Field Office, U.S. Immigration
14 and Customs Enforcement; DAVID
15 JENNINGS, Director of San Francisco
   Field Office, U.S. Immigration and
16 Customs Enforcement,
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                Defendants.
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                                    #:645



 1        Based upon the parties’ Joint Stipulation for Extension of Time to Move to
 2 Re-Open Action and to File Motion for Attorney’s Fees, (Dkt. No. 65), and due to
 3 the appearance of good cause, the Court hereby GRANTS the parties an extension
 4 of time until June 15, 2022, to move to re-open the action upon good cause shown if
 5 the settlement is not consummated, and GRANTS Plaintiff an extension of time
 6 until June 15, 2022, to file a motion for attorney’s fees, expenses, and costs
 7 pursuant to the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412.
 8
 9 IT IS SO ORDERED.
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     DATED: May 24, 2022
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                                           HON. ANDRÉ BIROTTE JR.
14                                         UNITED STATES DISTRICT JUDGE
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